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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

                                )
ASTRAZENECA PHARMACEUTICALS )
LP,                             )
                                )
              Plaintiff,        )
                                )
              v.                )                   Civil Action No. 23-931-CFC
                                )
XAVIER BECERRA, in his official )
capacity as SECRETARY OF HEALTH )
AND HUMAN SERVICES,             )
                                )
              and               )
                                )
CHIQUITA BROOKS-LASURE,         )
in her official capacity as     )
ADMINISTRATOR OF THE            )
CENTERS FOR MEDICARE &          )
MEDICAID SERVICES,              )
                                )
              Defendants.       )
                                )

            STIPULATED AND [PROPOSED] ORDER
     REGARDING CROSS-MOTIONS FOR SUMMARY JUDGMENT

      Pursuant to Federal Rule of Civil Procedure 7(b) and Local Rule 7, Plaintiff

AstraZeneca Pharmaceuticals LP (AstraZeneca) and Defendants Xavier Becerra et

al. jointly move to establish a briefing schedule for the above-captioned matter and

for related relief as outlined below.

      1.     AstraZeneca brought this lawsuit challenging certain aspects of the
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drug pricing negotiation provisions of the Inflation Reduction Act of 2022 (IRA), as

well as recent guidance issued by the Centers for Medicare & Medicaid Services

(CMS).

      2.     AstraZeneca alleges claims under the Administrative Procedure Act

(APA) as well as under the constitution. The parties agree, however, that neither set

of claims require discovery, witness testimony, or trial, and instead should be

resolved on dispositive motions. The parties further agree that Defendants will not

submit an administrative record in this matter. To the extent the parties intend to

reference any administrative documents, they will submit them by attaching or

linking to them in their briefs. The parties reserve the right to object to any submitted

documents

      3.     One of AstraZeneca’s products, Farxiga, was selected by CMS for

negotiation under the drug pricing negotiation provisions of the IRA, which lay out

a process for potentially establishing a “maximum fair price” (MFP) for Farxiga.

The IRA requires manufacturers of selected drugs to respond to CMS’s initial offer

of an MFP on or before March 2, 2024, at which point AstraZeneca may need to

decide whether to accede to the price limitations that it challenges in this lawsuit.

      4.     The parties have conferred and agreed to a briefing schedule set forth

in paragraph 6, below. To avoid the need for preliminary injunction proceedings,

and to ensure that the parties are heard on their respective positions before the



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negotiations conclude, Plaintiff respectfully requests a decision from this Court on

the dispositive motions on or before March 1, 2024. Counsel for AstraZeneca had

initially proposed a faster briefing schedule than what is set forth below, but is

amenable to the schedule set forth below if the Court believes it allows the Court

ample time to issue a decision on or before March 1, 2024.

      5.     In the event that the briefing schedule set forth below is not sufficient

to permit the Court adequate time to issue a decision by the Target Decision Date of

March 1, 2024, Plaintiff respectfully requests that the Court convene a status

conference or otherwise provide guidance to the parties regarding a briefing

schedule that would be sufficient to enable the Court to issue a decision on or before

March 1, 2024.

      6.     Given the significant issues raised in this lawsuit, the fact that the entire

case will be presented on dispositive motions, and the complicated nature of the

regulatory issues involved, the Parties respectfully request the following briefing

schedule along with an extension of the default word limits, as set forth below:


 AstraZeneca’s motion for summary September 26, 2023
 judgment and supporting brief (7,500
 words)
 Defendants’ combined opposition to November 1, 2023
 AstraZeneca’s motion for summary
 judgment and brief in support of
 Defendants’     dispositive  motion
 (combined: 15,000 words)



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AstraZeneca’s combined opposition to December 1, 2023
Defendants’ dispositive motion and
reply in support of AstraZeneca’s
motion for summary judgment
(combined: 15,000 words)
Defendants’ reply brief (7,500 words) January 12, 2024

Oral Argument                             January ___ 2024 at __: ____ __.m.

Target Decision Date                      March 1, 2024



      7.    The parties have agreed that the foregoing schedule is without waiver

of either party’s right to seek modification of the case schedule if circumstances

warrant.

                                     Respectfully submitted,

                                     MCCARTER & ENGLISH, LLP

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Dated: September 18, 2023


SO ORDERED this ___ day of September, 2023.

                                   _____________________________
                                   Chief United States District Court Judge




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